                                         Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 1 of 17




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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     JENNIFER MAREK, et al.,                            Case No. 21-cv-07174-WHO
                                                         Plaintiffs,
                                   8
                                                                                            ORDER ON MOTIONS TO DISMISS
                                                    v.
                                   9
                                                                                            Re: Dkt. Nos. 20, 21
                                  10     MOLSON COORS BEVERAGE
                                         COMPANY, et al.,
                                  11                     Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Plaintiffs filed this putative class action against two defendants, Molson Coors Beverage

                                  14   Company (MCBC) and Molson Coors Beverage Company USA LLC (MCBC USA), challenging

                                  15   defendants’ allegedly deceptive and unlawful practices in labeling and marketing the “fortified”

                                  16   alcoholic Vizzy Hard Seltzer product with beneficial health statements, including “antioxidant

                                  17   Vitamin C” from a “superfruit.” First Amended Complaint (“FAC,” Dkt. No. 13) ¶¶ 1-5. They

                                  18   allege that defendants violated various California consumer protection statutes and common law

                                  19   by adding in and promoting Vitamin C in their alcoholic beverage.

                                  20          MCBC is primarily a holding company that conducts no business in California, so

                                  21   defendants’ motion to dismiss is granted for lack of personal jurisdiction. Dkt. No. 20.

                                  22   Otherwise, plaintiffs’ claims are plausible and not preempted; the remainder of defendants’ motion

                                  23   is denied.

                                  24                                            BACKGROUND

                                  25          Plaintiffs contend that the uniform and consistent labeling and marketing of Vizzy

                                  26   products as being made “with Antioxidant Vitamin C from acerola superfruit” falsely and

                                  27   misleadingly implies that the carbonated alcoholic beverages are healthy for consumers or

                                  28   healthier than the other alcoholic seltzers on the market that do not advertise any nutrient content.
                                            Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 2 of 17




                                   1   FAC ¶¶ 17-20, 22. Plaintiffs also assert that the Vizzy drinks are illegally fortified by defendants’

                                   2   addition of the acerola powder to all Vizzy flavors for the purpose of adding Vitamin C to the

                                   3   product. Id. ¶¶ 17-18, 43. They allege that defendants’ representations, made to convey that

                                   4   Vizzy is healthy or healthier than other hard seltzers, are false or misleading because: (i) Vitamin

                                   5   C in the amount added to Vizzy does not provide significant health benefits; (ii) isolated

                                   6   antioxidants, as in the added powder-based Vitamin C in Vizzy, do not provide the same health

                                   7   benefits as antioxidants from a diet rich in fruits and vegetables; (iii) most consumers have

                                   8   adequate Vitamin C intake, meaning the added Vitamin C in Vizzy, will “likely pass through the

                                   9   body,” and (iv) alcohol consumption interferes with nutrient absorption and alcohol prevents the

                                  10   body from using nutrients by altering the transport, metabolism, and storage of nutrients. FAC ¶¶

                                  11   31-35.

                                  12            Both defendants move to dismiss, arguing that the state law claims are preempted by
Northern District of California
 United States District Court




                                  13   federal law or are subject to the primary jurisdiction of the Food and Drug Administration, and

                                  14   that the consumer protection claims are not and cannot be sufficiently alleged, the unjust

                                  15   enrichment claim fails, and plaintiffs lack standing to seek injunctive relief. MCBC also moves to

                                  16   dismiss for lack of personal jurisdiction.

                                  17                                                DISCUSSION

                                  18   I.       MOTION TO DISMISS MOLSON COORS BEVERAGE COMPANY
                                  19            A.     Legal Standard
                                  20            Under Federal Rule of Civil Procedure 12(b)(2), a defendant may move to dismiss for lack

                                  21   of personal jurisdiction. The plaintiff then bears the burden of demonstrating that jurisdiction

                                  22   exists. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004). The

                                  23   plaintiff “need only demonstrate facts that if true would support jurisdiction over the defendant.”

                                  24   Ballard v. Savage, 65 F.3d 1495, 1498 (9th Cir. 1995). “Although the plaintiff cannot simply rest

                                  25   on the bare allegations of its complaint, uncontroverted allegations in the complaint must be taken

                                  26   as true.” Schwarzenegger, 374 F.3d at 800 (citations omitted). “Conflicts between [the] parties

                                  27   over statements contained in affidavits must be resolved in the plaintiff’s favor.” Id. “

                                  28            “California’s long-arm statute allows courts to exercise personal jurisdiction over
                                                                                          2
                                         Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 3 of 17




                                   1   defendants to the extent permitted by the Due Process Clause of the United States Constitution.”

                                   2   Core-Vent Corp. v. Novel Indus. AB, 11 F.3d 1482, 1484 (9th Cir. 1993); CAL. CIV. PROC. CODE §

                                   3   410.10. “Because California’s long-arm jurisdictional statute is coextensive with federal due

                                   4   process requirements, the jurisdictional analyses under state law and federal due process are the

                                   5   same.” Schwarzenegger, 374 F.3d at 800–01.

                                   6          “There are two types of personal jurisdiction: general and specific.” Fields v. Sedgwick

                                   7   Associated Risks, Ltd., 796 F.2d 299, 301 (9th Cir. 1986). “[G]eneral jurisdiction permits a

                                   8   defendant to be haled into court in the forum state to answer for any of its activities anywhere in

                                   9   the world.” Schwarzenegger, 374 F.3d at 801. It exists where a nonresident defendant’s activities

                                  10   within a state are “substantial” or “continuous and systematic.” Data Disc., 557 F.2d at 1287.

                                  11   Such contracts must “be of the sort that approximate physical presence.” Bancroft & Masters, Inc.

                                  12   v. Augusta Nat'l Inc., 223 F.3d 1082, 1086 (9th Cir. 2000).
Northern District of California
 United States District Court




                                  13          Specific jurisdiction arises when a defendant’s specific contacts with the forum give rise or

                                  14   relate to the claim in question. Helicopteros Nacionales de Colombia S.A. v. Hall, 466 U.S. 408,

                                  15   414–16 (1984). “A court exercises specific jurisdiction where the cause of action arises out of or

                                  16   has a substantial connection to the defendant’s contacts with the forum.” Glencore Grain

                                  17   Rotterdam BV v. Shivnath Rai Harnarain Co., 284 F.3d 1114, 1123 (9th Cir. 2002). The Ninth

                                  18   Circuit employs a three-part test to determine whether there is specific jurisdiction over a

                                  19   defendant: (1) the non-resident defendant must purposefully direct his activities or consummate

                                  20   some transaction with the forum or resident thereof; or perform some act by which he purposefully

                                  21   avails himself of the privilege of conducting activities in the forum, thereby invoking the benefits

                                  22   and protections of its laws; (2) the claim must be one which arises out of or relates to the

                                  23   defendant’s forum-related activities; and (3) the exercise of jurisdiction must comport with fair

                                  24   play and substantial justice, i.e., it must be reasonable. Schwarzennegger, 374 F.3d at 802.

                                  25          The first prong of that test may be satisfied by “purposeful availment of the privilege of

                                  26   doing business in the forum; by purposeful direction of activities at the forum; or by some

                                  27   combination thereof.” Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d

                                  28   1199, 1206 (9th Cir. 2006) (citation and internal quotation marks omitted). The second prong
                                                                                         3
                                         Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 4 of 17




                                   1   does not necessarily require a “a strict causal relationship between the defendant’s in-state

                                   2   activity” and the claim, but it does require “an affiliation between the forum and the underlying

                                   3   controversy, principally, an activity or an occurrence that takes place in the forum State and is

                                   4   therefore subject to the State’s regulation.” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141

                                   5   S. Ct. 1017, 1025–26, (2021) (internal quotation marks, citations, and alteration omitted).

                                   6          The plaintiff bears the burden of satisfying the first two prongs of the test.

                                   7   Schwarzenegger, 374 F.3d at 802. “If the plaintiff succeeds in satisfying both of the first two

                                   8   prongs, the burden then shifts to the defendant to “present a compelling case” that the exercise of

                                   9   jurisdiction would not be reasonable.” Id. If the plaintiff cannot satisfy either of the first two

                                  10   prongs, personal jurisdiction is not established in the forum state. Id.

                                  11          B.        Application
                                  12          MBMC moves to dismiss for lack of jurisdiction, relying primarily on the declaration of
Northern District of California
 United States District Court




                                  13   Roxanne Stetler, the Vice President, Controller and Chief Accounting Officer, for MCBC who

                                  14   declares that:
                                                        MCBC has not conducted and presently does not conduct any general
                                  15                    business operations in the State of California. MCBC does not have
                                                        any offices, facilities, telephone listings or mailing addresses in
                                  16                    California, and it does not engage in any direct advertising or sales of
                                                        products to California residents. MCBC also does not employ any
                                  17                    officers, employees, or agents who transact business in California on
                                                        its behalf. At all times relevant to this action, and through the present
                                  18                    time, any operations conducted using the trade name “MillerCoors”
                                                        or “Molson Coors” in California have been and are conducted only
                                  19                    by and through MCBC’s direct or indirect subsidiary entities and not
                                                        by or through MCBC.
                                  20
                                       Declaration of Roxanne Stetler (Dkt. No. 20-1) ¶ 5. Stetler also states that MCBC “is principally a
                                  21
                                       holding company” and has not employed any corporate directors or officers located in or working
                                  22
                                       out of California, and that no corporate activities of MCBC were or are directed, controlled, and
                                  23
                                       coordinated from California, but were instead made from corporate headquarters or corporate
                                  24
                                       offices in Colorado, Illinois, or Wisconsin. Id. ¶¶ 6-7. Finally, she says that Molson Coors USA
                                  25
                                       “is responsible for the manufacturing, distribution and advertising for the hard seltzer brand
                                  26
                                       VIZZY. Molson Coors [USA] maintains its own separate accounting, books, and records. It has
                                  27
                                       separate bank accounts and maintains separate assets from MCBC.” Id. ¶ 8. Based on these
                                  28
                                                                                           4
                                         Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 5 of 17




                                   1   assertions, MCBC argues that plaintiffs cannot allege general or specific jurisdiction over MCBC

                                   2   for the claims plaintiffs make regarding Vizzy. Dkt. No 20.

                                   3          Plaintiffs respond by pointing to evidence that MCBC distributes Vizzy in California,

                                   4   noting that Vizzy’s packaging identifies “Molson Coors Beverage Company” as the distributor

                                   5   and not MCBC USA. But plaintiffs do not address or dispute Stetler’s assertion that MCBC USA

                                   6   has lawfully registered the fictitious name of Molson Coors Beverage Company to use in

                                   7   California, consistent with California law, and it is MCBC USA that manufactures, advertises, and

                                   8   distributes Vizzy in California. Stetler Decl. ¶¶ 5, 8.

                                   9          Plaintiffs also rely on MCBC’s Form-10Q, filed with the Securities and Exchange

                                  10   Commission, where MCBC states (referring to it and its subsidiaries) that “we have been brewing

                                  11   beverages” and “we produce some of the most beloved and iconic beer brands every made,” and

                                  12   that “we” is defined in the 10Q “unless otherwise noted” as “including Molson Coors Beverage
Northern District of California
 United States District Court




                                  13   Company.” Pls Request for Judicial Notice, Ex. B at 10, 27. These generalities ignore the

                                  14   disclosure that MCBC is “principally a holding company.” Id. The statements in the 10Q are

                                  15   fully consistent with Stetler’s declaration that MCBC is “primarily” a holding company and that it

                                  16   is MCBC USA who “is responsible for the manufacturing, distribution and advertising for the hard

                                  17   seltzer brand VIZZY.” Stettler Decl. ¶¶ 6, 8.

                                  18          Finally, plaintiffs note that MCBC is registered to do business in California, disclosing its

                                  19   type of business as “manufacturing and distribution,” and that MCBC and MCBC USA share

                                  20   numerous officers and offices. Pls RJN, Ex. C; Oppo. to MCBC MTD at 2. MCBC notes that

                                  21   simply being registered with the State of California is insufficient for general jurisdiction. It also

                                  22   argues that plaintiffs cannot establish specific jurisdiction based on this fact; their claims do not

                                  23   arise from the fact that MCBC is registered with the State of California.

                                  24          I agree. Plaintiffs provide no caselaw to support the proposition that simply because a

                                  25   corporation has a registered agent for service in a state (here MCBC in California), that is

                                  26   sufficient in and of itself to expose it to general or specific jurisdiction. But see AM Tr. v. UBS

                                  27   AG, 681 Fed. Appx. 587, 588–89 (9th Cir. 2017) (unpublished) (“California does not require

                                  28   corporations to consent to general personal jurisdiction in that state when they designate an agent
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                                         Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 6 of 17




                                   1   for service of process or register to do business.”). Even if registration in California could satisfy

                                   2   the “purposeful availment” prong for specific jurisdiction, there are still no allegations that

                                   3   plaintiffs’ claim “arise out of or relate to” MCBC’s California activities because it is undisputed

                                   4   that MCBC conducts and directs no activities in California.

                                   5           As a backup, plaintiffs ask that they be allowed jurisdictional discovery to test whether

                                   6   MCBC distributes Vizzy in California or “was otherwise involved in the decision making

                                   7   regarding the production and labelling” of Vizzy. Pls. Oppo. to MCBC MTD at 3. There is no

                                   8   justification for that discovery. Plaintiffs have not countered MCBC’s evidence in the Stetler

                                   9   declaration or otherwise adduced evidence that could contradict or call it into question.

                                  10           On this record, the motion is GRANTED and MCBC is DISMISSED for lack of

                                  11   jurisdiction. That dismissal is WITHOUT PREJUDICE if further information comes to light that

                                  12   contrsadict the Stetler declarations.
Northern District of California
 United States District Court




                                  13   II.     MOTION TO DISMISS CLAIMS
                                  14           A.      Legal Standard
                                  15           Under Federal Rule of Civil Procedure 12(b)(6), a district court must dismiss a complaint

                                  16   if it fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion to

                                  17   dismiss, the plaintiff must allege “enough facts to state a claim to relief that is plausible on its

                                  18   face.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially plausible

                                  19   when the plaintiff pleads facts that “allow the court to draw the reasonable inference that the

                                  20   defendant is liable for the misconduct alleged.” See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

                                  21   (citation omitted). There must be “more than a sheer possibility that a defendant has acted

                                  22   unlawfully.” Id. While courts do not require “heightened fact pleading of specifics,” a plaintiff

                                  23   must allege facts sufficient to “raise a right to relief above the speculative level.” See Twombly,

                                  24   550 U.S. at 555, 570.

                                  25           In deciding whether the plaintiff has stated a claim upon which relief can be granted, the

                                  26   Court accepts the plaintiff’s allegations as true and draws all reasonable inferences in favor of the

                                  27   plaintiff. See Usher v. City of Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). However, the court

                                  28   is not required to accept as true “allegations that are merely conclusory, unwarranted deductions of
                                                                                           6
                                           Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 7 of 17




                                   1   fact, or unreasonable inferences.” See In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                   2   2008).

                                   3            B.     Preemption
                                   4            Defendants’ primary argument on their motion to dismiss is that federal law permits them

                                   5   to include fruit juice in Vizzy and because that juice contains an appreciate amount of Vitamin C

                                   6   (at least 20% of the recommended daily value) they are allowed to truthfully disclose the presence

                                   7   of “antioxidant Vitamin C” on the product’s label, packing, and marketing. Given the asserted

                                   8   blessing of their conduct under federal law, defendants contend the state law claims are preempted

                                   9   or otherwise fail as a matter of law.

                                  10            Both sides agree that hard seltzers like Vizzy are regulated by the Food and Drug

                                  11   Administration (FDA) under the Food, Drug, and Cosmetic Act (“FDCA”) as modified by the

                                  12   Nutrition Labeling and Education Act (“NELA”). Both sides also agree that under the FDCA, as
Northern District of California
 United States District Court




                                  13   amended by NELA, states cannot impose any labeling requirement that is not identical to the

                                  14   federal requirements, under 21 U.S.C. §§ 343(q), 343(r), and 343-1(a)(5). Greenberg v. Target

                                  15   Corp., 985 F.3d 650, 655 (9th Cir. Jan. 13, 2021) (“To avoid a patchwork quilt of conflicting state

                                  16   labeling laws, the FDCA includes a preemption provision that establishes a national and uniform

                                  17   standard for certain labeling statements. The statute preempts any state law that establishes ‘any

                                  18   requirement respecting any claim of the type described in section 343(r)(1) of this title made in the

                                  19   label or labeling of food that is not identical to the requirement of section 343(r) of this title.’ 21

                                  20   U.S.C. § 343-1(a)(5).”).1

                                  21            Plaintiffs argue that their state law claims – all based on assertions that defendants’

                                  22

                                  23   1
                                         Defendants do not dispute that if plaintiffs are merely attempting to hold them to federal
                                  24   standards under the FDCA, the state law claims asserting violation of California’s Sherman Food
                                       Drug & Cosmetic Law (“Sherman Law,” Cal. Health & Saf. Code §110100 et seq.) that expressly
                                  25   incorporate the FDCA standards are not preempted. See, e.g., Lanovaz v. Twinings N. Am., Inc.,
                                       No. C-12-02646-RMW, 2013 WL 675929, at *3 (N.D. Cal. Feb. 25, 2013) (“NELA contemplates
                                  26   state enactment and enforcement of labeling requirements as long as they are identical to or
                                       parallel NLEA requirements. Although Congress intended to preempt non-identical requirements
                                  27   in the field of food labeling, the purpose of the NLEA is not to preclude all state regulation of
                                       nutritional labeling, but to prevent State and local governments from adopting inconsistent
                                  28   requirements with respect to the labeling of nutrients.”).

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                                            Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 8 of 17




                                   1   fortification of Vizzy is illegal under federal law and their use of the statement “with Antioxidant

                                   2   Vitamin C from acerola superfruit” on Vizzy labels and marketing is false and misleading – are

                                   3   not preempted because they simply seek to enforce the federal standards. They contend that

                                   4   defendants are illegally fortifying Vizzy with Vitamin C under the FDA’s “Fortification Policy”

                                   5   21 C.F.R. § 104.202 and that defendants’ marketing implies a health benefit that is false and

                                   6   misleading in violation of 21 U.S.C. § 343(a)(1).3 See, e.g., Becerra v. Dr Pepper/Seven Up, Inc.,

                                   7   No. 17-CV-05921-WHO, 2018 WL 1569697, at *4 (N.D. Cal. Mar. 30, 2018) (“the state laws

                                   8   under which plaintiff brings suit—California's UCL, FAL, CLRA, and Sherman Law—impose

                                   9   identical requirements to Section 343(a) in that they also prohibit false and misleading

                                  10   advertising”); see also Questions and Answers on FDA’s Fortification Policy; Guidance for

                                  11   Industry (“Guidance”) at 7 (“Under our fortification policy, we do not consider it appropriate to

                                  12   add vitamins and minerals to alcoholic beverages.”).4
Northern District of California
 United States District Court




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                                           The “fundamental objective” of the Fortification Policy is:

                                  15             to establish a uniform set of principles that will serve as a model for the rational addition of
                                                 nutrients to foods. The achievement and maintenance of a desirable level of nutritional
                                  16             quality in the nation's food supply is an important public health objective. The addition of
                                                 nutrients to specific foods can be an effective way of maintaining and improving the
                                  17             overall nutritional quality of the food supply. However, random fortification of foods could
                                                 result in over- or underfortification in consumer diets and create nutrient imbalances in the
                                  18             food supply. It could also result in deceptive or misleading claims for certain foods. The
                                                 Food and Drug Administration does not encourage indiscriminate addition of nutrients to
                                  19             foods, nor does it consider it appropriate to fortify fresh produce; meat, poultry, or fish
                                                 products; sugars; or snack foods such as candies and carbonated beverages.
                                  20
                                       21 C.F.R. § 104.20(a). Foods may be fortified in order to “correct a dietary insufficiency
                                  21   recognized by the scientific community,” to restore nutrients to a level representative of the food
                                       prior to storage, handling, and processing, “to balance the vitamin, mineral, and protein” content
                                  22   of a food, and “nutrient(s) may appropriately be added to a food that replaces traditional food in
                                       the diet to avoid nutritional inferiority.” 21 C.F.R. § 104.20(b)-(e). Finally, the Policy provides
                                  23   “(h) Any claims or statements in the labeling of food about the addition of a vitamin, mineral, or
                                       protein to a food shall be made only if the claim or statement is not false or misleading and
                                  24   otherwise complies with the act and any applicable regulations.” 21 C.F.R. § 104.20(h).

                                  25
                                       3
                                         21 U.S.C § 343(a)(1) “A food shall be deemed to be misbranded-- (a) False or misleading label
                                       If (1) its labeling is false or misleading in any particular, or (2) in the case of a food to which
                                  26   section 350 of this title applies, its advertising is false or misleading in a material respect or its
                                       labeling is in violation of section 350(b)(2) of this title.”
                                  27   4
                                        Available at https://www.fda.gov/regulatory-information/search-fda-guidance-
                                  28   documents/guidance-industry-questions-and-answers-fdas-fortification-policy

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                                           Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 9 of 17




                                   1          Defendants argue, first, that plaintiffs cannot bring a state law claim to “privately enforce

                                   2   alleged violations of the FDCA.” MTD at 8. I have rejected that argument, as have a number of

                                   3   other judges in this District. See Morgan v. Wallaby Yogurt Co., Inc., No. 13-CV-00296-WHO,

                                   4   2013 WL 5514563, at *6 (N.D. Cal. Oct. 4, 2013) (collecting cases).5

                                   5          On the merits, defendants dispute whether the Fortification Policy applies to Vizzy. They

                                   6   contend that Vizzy is not fortified because the Vitamin C comes from fruit juice (the dried powder

                                   7   of the acerola fruit) and there is nothing in the Policy or other FDA regulations that prevents a

                                   8   manufacturer from adding juice to an alcoholic product and then (as otherwise required) disclosing

                                   9   the nutrient content from that addition. Plaintiffs respond that the addition of the Vitamin C as a

                                  10   powder or a juice, for whatever reason (e.g., for taste, stability, other manufacturing needs), is an

                                  11   impermissible fortification regardless of defendants’ reason or intent. Pls. Oppo. MTD at 9 fn.3.

                                  12   If intent is relevant, they assert that defendants’ intent in adding the acerola powder is for the
Northern District of California
 United States District Court




                                  13   addition of Vitamin C – as demonstrated by the fact that defendants add the powder to every

                                  14   flavor of Vizzy – that they then emblazoned on all Vizzy marketing. FAC ¶ 43.

                                  15          At this juncture, plaintiffs have adequately alleged impermissible fortification. Whether

                                  16   and to what extent purpose and intent is relevant to determining whether defendants have violated

                                  17   the Fortification Policy, and what defendants’ purpose and intent is for adding the acerola

                                  18   powder/juice to Vizzy, are better determined on a full evidentiary record. Similarly, whether

                                  19   plaintiffs are correct that adding acerola juice or powder falls within the definition of fortification

                                  20   or whether defendants are right that impermissible fortification occurs only by adding “distinct”

                                  21   vitamins (like ascorbic acid to provide Vitamin C), is better determined on a full evidentiary

                                  22   record showing how and why the acerola juice or powder is added to Vizzy.6

                                  23          Defendants also argue that the Fortification Policy is not binding on Vizzy. Initially,

                                  24

                                  25   5
                                        The premarket approval cases defendants rely on are inapposite. See MTD at 8-9; Reply ISO
                                  26   MTD at 3.

                                  27
                                       6
                                        Defendants rely on the definition of fortification or enrichment as the “addition of discrete
                                       nutrients such as vitamins, minerals, or proteins to foods.” Reply ISO MTD at 7 (citing 45 FR
                                  28   6314).

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                                           Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 10 of 17




                                   1   defendants contend that the Policy is not binding because the challenged statement does not

                                   2   describe the addition of vitamin with terms such as “added or “plus” but instead accurately

                                   3   indicates the product is “with antioxidant Vitamin C.” See 21 C.F.R. § 101.54(e)(ii).7 Plaintiffs

                                   4   argue that “with” is synonymous with the terms identified in the regulation – “more,” “fortified,”

                                   5   “enriched,” “added,” “extra,” and “plus” – and used by defendants for the same reason, to indicate

                                   6   the addition or inclusion of “antioxidant Vitamin C” specifically. See Vassigh v. Bai Brands LLC,

                                   7   No. 14-CV-05127-HSG, 2015 WL 4238886, at *7 (N.D. Cal. July 13, 2015) (“The Court agrees

                                   8   with the latter opinions that statements may violate Section 101.54(g) without using the exact

                                   9   words identified in the regulation. A defendant cannot escape liability simply because it uses a

                                  10   synonym—such as “great source” or “excellent source”—instead of the defined term “good

                                  11   source.” The touchstone inquiry is whether the statement either expressly or implicitly

                                  12   characterizes the level of a nutrient in the product.”); see also 21 C.F.R. § 101.13(b) (“A claim that
Northern District of California
 United States District Court




                                  13   expressly or implicitly characterizes the level of a nutrient of the type required to be in nutrition

                                  14   labeling [ ] may not be made on the label or in labeling of foods unless the claim is made in

                                  15   accordance with this regulation and with the applicable regulations” and covers “(4) Reasonable

                                  16   variations in the spelling of the terms defined in part 101 and their synonyms are permitted

                                  17   provided these variations are not misleading (e.g., “hi” or “lo”).”

                                  18           Plaintiffs have plausibly alleged that the Fortification Policy applies to Vizzy under 21

                                  19   C.F.R. § 101.54(e). Defendants may argue on summary judgment that given the structure of the

                                  20

                                  21
                                       7
                                         21 C.F.R. § 101.54 provides: “(a) [] a claim about the level of a nutrient in a food in relation to
                                       the Reference Daily Intake (RDI) established for that nutrient in § 101.9(c)(8)(iv) or Daily
                                  22   Reference Value (DRV) established for that nutrient in § 101.9(c)(9), (excluding total
                                       carbohydrates) may only be made on the label or in labeling of the food” with respect to “More”
                                  23   claims under (e):
                                              (1) A relative claim using the terms “more,” “fortified,” “enriched,” “added,” “extra,” and
                                  24          “plus” may be used on the label or in labeling of foods to describe the level of protein,
                                              vitamins, minerals, dietary fiber, or potassium, except as limited by § 101.13(j)(1)(i) []
                                  25          provided that:
                                                      (i) The food contains at least 10 percent more of the RDI for vitamins or minerals
                                  26                  or of the DRV for protein, dietary fiber, or potassium (expressed as a percent of the
                                                      Daily Value) per reference amount customarily consumed than an appropriate
                                  27                  reference food; and
                                                      (ii) Where the claim is based on a nutrient that has been added to the food, that
                                  28                  fortification is in accordance with the policy on fortification of foods in § 104.20 of
                                                      this chapter.
                                                                                         10
                                           Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 11 of 17




                                   1   applicable regulations, their use or addition of acerola powder does not violate federal law.

                                   2           Defendants also contend that they cannot be liable for a false or misleading claim because

                                   3   their “antioxidant” statement is expressly permitted under 21 C.F.R. § 101.54(g) given the amount

                                   4   of Vitamin C from the acerola powder that is present in Vizzy.8 That Vizzy may have an

                                   5   otherwise allowable antioxidant nutrient content claim does not also mean Vizzy is not in

                                   6   violation of the Fortification Policy if Vizzy was in fact fortified in violation of the Fortification

                                   7   Policy. Plaintiffs also argue that subsection (g) is not applicable because Vizzy’s statement “with

                                   8   Antioxidant Vitamin C from acerola superfruit” does not attempt to characterize the level of

                                   9   antioxidant as “high” or an “excellent source” that are the terms that are governed by that

                                  10   subsection. Again, this possible defense is likewise better determined on a full factual record.

                                  11   While the antioxidant claim might be permissible for some types of products, the FDA Guidance

                                  12   notes that fortification could still be misleading when applied to a fortified alcoholic beverage,
Northern District of California
 United States District Court




                                  13   making it actionable under 21 U.S.C § 343(a)(1) or § 343(r).

                                  14           Finally, defendants assert that the Policy cannot be binding on Vizzy because alcoholic

                                  15   beverages are not called out in the regulation itself (although carbonated beverages are) and

                                  16   alcoholic drinks are only mentioned in the FDA’s Guidance. This argument simply reinforces

                                  17   plaintiffs’ point that even if not binding – a matter not definitively resolved at this juncture

                                  18   because there are questions of fact concerning why acerola powder was added to the Vizzy

                                  19   product – the FDA’s Guidance supports plaintiffs’ contention that a fortified alcoholic beverage

                                  20   creates a false and misleading health message.

                                  21

                                  22

                                  23   8
                                         21 C.F.R. § 101.54 (g) “Nutrient content claims using the term ‘antioxidant.’ A nutrient content
                                  24   claim that characterizes the level of antioxidant nutrients present in a food may be used on the
                                       label or in the labeling of that food when:
                                  25           (1) An RDI has been established for each of the nutrients;
                                               (2) The nutrients that are the subject of the claim have recognized antioxidant activity; that
                                  26           is, when there exists scientific evidence that, following absorption from the gastrointestinal
                                               tract, the substance participates in physiological, biochemical, or cellular processes that
                                  27           inactivate free radicals or prevent free radical-initiated chemical reactions;
                                               (3) The level of each nutrient that is the subject of the claim is sufficient to qualify for the
                                  28           § 101.54(b), (c), or (e) claim (e.g., to bear the claim “high in antioxidant vitamin C,” the
                                               product must contain 20 percent or more of the RDI for vitamin C).
                                                                                           11
                                           Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 12 of 17



                                               C.     Primary Jurisdiction
                                   1
                                               Defendants assert that this case, if not preempted, is subject to the primary jurisdiction of
                                   2
                                       the FDA and should be dismissed or stayed.9 Defendants rely heavily on the fact that plaintiffs’
                                   3
                                       FAC appears to cite, almost verbatim, the contents of a letter sent by the Center for Science in the
                                   4
                                       Public Interest (“CPSI”) to the FDA encouraging it to take enforcement action to stop alcoholic
                                   5
                                       beverage manufacturers from making fortification claims (specifically including defendants’
                                   6
                                       claims about Vizzy). The CPSI letter argues that those claims create false and misleading
                                   7
                                       messages of healthfulness given that alcoholic beverages are “empty calories” and alcohol is
                                   8
                                       associated with serious health conditions as well as anti-nutrient properties. See Defs. RJN (Dkt.
                                   9
                                       No. 29), Ex. A. Defendants argue that plaintiffs’ case cannot proceed because the FDA has
                                  10
                                       apparently refused to take an action on the CPSI letter, relying on an “admission” made by
                                  11
                                       different counsel in a different case against these same defendants regarding the fortification of
                                  12
Northern District of California




                                       Vizzy. See Defendants Request for Judicial Notice ISO Reply (Dkt. No. 29-1), Ex. B (Second
 United States District Court




                                  13
                                       Amended Class Complaint in Williams, et al. v. Molson Coors Beverage Company USA LLC, 21-
                                  14
                                       cv-50207 (N.D. Ill.), ¶ 41 (asserting the “FDA has declined to take enforcement action against the
                                  15
                                       Product”)).
                                  16
                                               If defendants’ argument is construed as one of primary jurisdiction (rather than
                                  17
                                       preemption, which I rejected above), it fails because defendants seek to dismiss or stay this case
                                  18
                                       while admitting that the FDA is not acting at this time. Even if there were indications that the
                                  19
                                       FDA might be considering enforcement against manufacturers of fortified alcoholic drinks – and
                                  20
                                       defendants present none – that would not justify abstention under primary jurisdiction unless there
                                  21
                                       was some reason to expect that the agency action and the court action would substantially overlap
                                  22
                                       or that identified agency expertise weighs in favor of allowing the agency to take enforcement
                                  23
                                       action first. No such reasons have been shown. Similarly, absent evidence that the FDA is
                                  24
                                       actively engaged in rulemaking that could impact whether or not Vizzy is accurately viewed as a
                                  25

                                  26   9
                                          The primary jurisdiction doctrine “allows courts to stay proceedings or to dismiss a complaint
                                  27   without prejudice pending the resolution of an issue within the special competence of an
                                       administrative agency.” Clark v. Time Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008).
                                  28   Application of the primary jurisdiction doctrine “is a matter of the court’s discretion.” Chacanaca
                                       v. Quaker Oats Co., 752 F. Supp. 2d 1111, 1124 (N.D. Cal. 2010).
                                                                                        12
                                        Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 13 of 17




                                   1   fortified product or whether the challenged statement can be seen as false or misleading, there are

                                   2   no efficiencies to be gained by dismissing or staying this case under the primary jurisdiction

                                   3   doctrine. That is especially true where, as here, the agency has already issued its regulation as

                                   4   well as substantial guidance to assist manufacturers and courts. See Gustavson v. Wrigley Sales

                                   5   Co., 961 F. Supp. 2d 1100, 1128 (N.D. Cal. 2013) (staying one claim in light of” indications from

                                   6   agency and “the substantial possibility that the FDA may soon change its breath mint serving

                                   7   requirements” but declining to stay remaining claims where FDA had already issued extensive

                                   8   regulations on the larger subject at issue).

                                   9            D.     Safe Harbor
                                  10            In California, unfair competition claims are subject to the safe harbor doctrine, which

                                  11   precludes plaintiff [] from bringing claims based on ‘actions the Legislature permits.’” Ebner v.

                                  12   Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016) (citing Cel-Tech Commc’ns, Inc. v. L.A. Cellular
Northern District of California
 United States District Court




                                  13   Tel. Co., 20 Cal. 4th 163, 184 (1999)). “To fall within the safe harbor, the challenged conduct

                                  14   must be affirmatively permitted by statute––the doctrine does not immunize from liability conduct

                                  15   that is merely not unlawful.” Id. This includes not only California statutes, but also federal

                                  16   statutes and regulations. See Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1164 (9th Cir.

                                  17   2012).

                                  18            Defendants argue that they are protected within the safe harbor because they are required

                                  19   to disclose Vizzy’s ingredients under federal law. They contend that their truthful disclosure falls

                                  20   within the UCL’s “safe harbor” and that plaintiffs consumer protection claims must therefore be

                                  21   dismissed. But while manufacturers may generally be permitted to disclose antioxidant statements

                                  22   under 21 C.F.R. § 101.54(g), that does not necessarily bring a manufacturer of carbonated

                                  23   alcoholic beverages within the UCL’s safe harbor against claims of illegality (based on separate

                                  24   regulatory provisions) or insulate it from claims of fraudulent or unfair conduct (for voluntarily

                                  25   including a statement on its packaging and marketing). Providing a safe harbor for the alleged

                                  26   conduct is, assuming the truth of plaintiffs’ allegations, arguably contrary to the FDA guidance.

                                  27   See Guidance at 7. The conduct alleged by plaintiffs is not protected by the UCL’s safe harbor

                                  28   provision.
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                                            Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 14 of 17



                                                E.     UCL – Unlawful Conduct
                                   1
                                                Having determined that plaintiffs have adequately alleged an unlawful claim based on the
                                   2
                                       Fortification Policy under the identical requirements of California’s Sherman Law – at least at of
                                   3
                                       this juncture – the UCL unlawful prong claim survives.
                                   4
                                                F.     Reasonable Consumer/Materiality
                                   5
                                                Each of the California consumer protection statutes invoked by plaintiffs, including the
                                   6
                                       fraudulent and unfair prongs of the UCL, require that the challenged statement be material to a
                                   7
                                       reasonable consumer. Defendants argue that no reasonable consumer could be misled into
                                   8
                                       thinking that drinking hard seltzer is “healthy” as a matter of law because the dangers of
                                   9
                                       consuming alcohol are generally known and the Vizzy packaging included the required Surgeon
                                  10
                                       General’s warning regarding dangers of consuming alcohol.10 They also contend that by merely
                                  11
                                       disclosing that Vizzy contains “antioxidant Vitamin C” they are not conveying specific health
                                  12
Northern District of California




                                       messages to reasonable consumers.
 United States District Court




                                  13
                                                This argument ignores the FDA’s own guidance that fortification of alcoholic beverages
                                  14
                                       could be false and misleading. It also ignores the disputes of fact about how reasonable
                                  15
                                       consumers would interpret the phrase “with Antioxidant Vitamin C from acerola superfruit.” As
                                  16
                                       plaintiffs point out, that statement is prominent on all of the Vizzy packaging and featured
                                  17
                                       prominently in marketing materials to distinguish Vizzy from its competitors. FAC ¶¶ 17-20, 60,
                                  18
                                       65.11 This is not one of the rare cases where challenged statements can be determined not to have
                                  19
                                       misled reasonable consumers as a matter of law. See Chong v. Nestle Water N. Am., Inc., No. 20-
                                  20
                                       56373, 2021 WL 4938128, at *1 (9th Cir. Oct. 22, 2021) (affirming district court’s determination
                                  21

                                  22

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                                       10
                                         27 U.S.C. § 215 “GOVERNMENT WARNING: (1) According to the Surgeon General, women
                                       should not drink alcoholic beverages during pregnancy because of the risk of birth defects. (2)
                                  24   Consumption of alcoholic beverages impairs your ability to drive a car or operate machinery, and
                                       may cause health problems.”
                                  25   11
                                         Defendants argue that the use of “superfruit” is mere puffery because there is no defined health
                                  26   benefit associated with superfruit. Reply ISO MTD at 12. However, plaintiffs allege is an
                                       “industry term to denote nutrient-dense fruits, synonymous with healthy.” FAC ¶ 36. Whether or
                                  27   not that is the case is a matter for proof. Moreover, plaintiffs challenge the use of superfruit in
                                       conjunction with both the whole statement in which it appears and as a descriptor of the source of
                                  28   the antioxidant. See, e.g., FAC ¶ 5, 17.

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                                            Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 15 of 17




                                   1   spring water label indicated water was sourced from a particular mountain).12

                                   2            G.     UCL – Fraudulent or Unfair Conduct
                                   3            Defendants complain generally that plaintiffs fail to satisfy Rule 9(b)’s particularity

                                   4   requirement for the fraud and unfair conduct-based claims. Under FRCP 9(b), to state a claim for

                                   5   fraud, a party must plead with “particularity the circumstances constituting the fraud,” and the

                                   6   allegations must “be specific enough to give defendants notice of the particular misconduct . . . so

                                   7   that they can defend against the charge and not just deny that they have done anything wrong.”

                                   8   See Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009) (citation omitted).

                                   9   “Averments of fraud must be accompanied by the who, what, when, where, and how of the

                                  10   misconduct charged.” Vess v. Ciba-Geigy Corp., 317 F.3d 1097, 1106 (9th Cir. 2003) (citation

                                  11   omitted).

                                  12            Plaintiffs have clearly identified the who (defendants), the what (the statement,
Northern District of California
 United States District Court




                                  13   prominently displayed on all Vizzy packing and marketing), the when (FAC ¶¶ 67, 73) and the

                                  14   why (FAC ¶¶ 68-69, 74-75). That is sufficient to satisfy Rule 9.

                                  15            H.     Unjust Enrichment
                                  16            Defendants argue that the unjust enrichment claim must be dismissed with prejudice

                                  17   because there is no stand-alone unjust enrichment cause of action under California law. That

                                  18   argument, as well as the argument that unjust enrichment claims must be dismissed as duplicative

                                  19   of other claims, has been rejected by the Ninth Circuit. Astiana v. Hain Celestial Group, Inc., 783

                                  20   F.3d 753, 762-63 (9th Cir. 2015) (courts may construe an unjust enrichment claim as a quasi-

                                  21   contract claim seeking restitution and that claim should not be dismissed as superfluous).

                                  22            Defendants also contend that the unjust enrichment claim should be dismissed because

                                  23   plaintiffs allege no “actionable deception.” However, plaintiffs have pleaded that the “antioxidant

                                  24   Vitamin C” statement was false and misleading because, among other allegations, the addition of

                                  25

                                  26   12
                                         The inappropriateness of determining these issues as a matter of law are highlighted by
                                  27   defendants’ Reply where they attempt to undermine the assertions in plaintiffs’ FAC as to why the
                                       challenged statement is false or misleading by citing information from the National Institutes of
                                  28   Health and attempting to distinguish scientific studies plaintiffs rely on. See Reply ISO MTD at
                                       10-11. These disputes cannot be resolved at this juncture.
                                                                                         15
                                        Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 16 of 17




                                   1   Vitamin C to Vizzy does not result in antioxidant benefits and the addition of Vitamin C to

                                   2   alcoholic drinks is false and misleading because alcohol inhibits nutrient absorption. FAC ¶¶ 34-

                                   3   35.

                                   4          Finally, defendants assert that the claim must be dismissed because plaintiffs do not allege

                                   5   that they did not receive the benefit of the bargain. Tae Youn Shim v. Lawler, 17-CV-04920-

                                   6   EMC, 2019 WL 2996443, at *20 (N.D. Cal. July 9, 2019) (dismissing unjust enrichment claim

                                   7   based on plaintiffs’ failure to allege they did not receive the benefit of their contractual bargain).

                                   8   Plaintiffs expressly allege that “the Products are worth less than what Plaintiffs and members of

                                   9   the Class paid for them.” FAC ¶¶ 76, 79. That is sufficient.

                                  10          I.      Injunctive Relief
                                  11          Defendants contend that plaintiffs, by virtue of filing this suit, know that drinking alcoholic

                                  12   beverages like Vizzy is not healthy, even with the addition of Vitamin C. Therefore, defendants
Northern District of California
 United States District Court




                                  13   move to dismiss plaintiffs’ request for injunctive relief for lack of standing because there is no

                                  14   possibility in the future that these plaintiffs will be misled. However, as plaintiffs have pleaded

                                  15   that they might purchase defendants’ products in the future (if they are either reformulated to

                                  16   remove the nutrients and labeled without the unlawful and misleading nutrient claims) or might

                                  17   purchase but pay less for the products, that is sufficient to confer standing at this juncture. See

                                  18   Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969-70 (9th Cir. 2018) (“In some cases, the

                                  19   threat of future harm may be the consumer’s plausible allegations that she will be unable to rely on

                                  20   the product’s advertising or labeling in the future, and so will not purchase the product although

                                  21   she would like to. [] In other cases, the threat of future harm may be the consumer’s plausible

                                  22   allegations that she might purchase the product in the future, despite the fact it was once marred by

                                  23   false advertising or labeling, as she may reasonably, but incorrectly, assume the product was

                                  24   improved.”).

                                  25                                              CONCLUSION

                                  26          For the foregoing reasons, MCBC’s motion to dismiss for lack of personal jurisdiction is

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                                  28
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                                        Case 3:21-cv-07174-WHO Document 34 Filed 01/14/22 Page 17 of 17




                                   1   GRANTED without prejudice. Defendants’ motion to dismiss the claims is DENIED.

                                   2          IT IS SO ORDERED.

                                   3   Dated: January 14, 2022

                                   4

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                                                                                             William H. Orrick
                                   6                                                         United States District Judge
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Northern District of California
 United States District Court




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